

People v Soto (2023 NY Slip Op 00821)





People v Soto


2023 NY Slip Op 00821


Decided on February 14, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 14, 2023

Before: Acosta, P.J., Webber, Friedman, Kennedy, Higgitt, JJ. 


Ind. No. 30117/15 Appeal No. 17333 Case No. 2018-565 

[*1]The People of the State of New York, Respondent,
vJuan Soto, Defendant-Appellant. 


Justine M. Luongo, The Legal Aid Society, New York (Steven J. Miraglia of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Michael J. Yetter of counsel), for respondent.



Order, Supreme Court, New York County (Arlene D. Goldberg, J.), entered on or about October 5, 2017, which adjudicated defendant a level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion when it declined defendant's request for a downward departure (see People v Gillotti, 23 NY3d 841 [2014]). The mitigating factors cited by defendant were adequately taken into account by the risk assessment instrument, or were outweighed by the seriousness of the offense and defendant's criminal history (see e.g. People v McCormick, 129 AD3d 644 [1st Dept 2015], lv denied 26 NY3d 908 [2015]. Defendant did not establish that his age was likely to reduce his individual risk of reoffense. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 14, 2023








